Cedar Valley Distillery, Inc., Petitioner, v. Commissioner of Internal Revenue, Respondent.  William Weisman, Petitioner, v. Commissioner of Internal Revenue, RespondentCedar Valley Distillery, Inc. v. CommissionerDocket Nos. 22785, 22786United States Tax Court16 T.C. 870; 1951 U.S. Tax Ct. LEXIS 216; April 24, 1951, Promulgated *216 Decisions will be entered under Rule 50.  1. Income -- Partnership Recognized as Separate Entity -- Section 22 (a) -- Section 45.  -- Partnership net income was not properly includible in the income of a corporation under section 22 (a) or 45 where the principal stockholder of the taxpayer corporation formed a partnership with his son and a third person which carried on a business of importing, bottling, and selling distilled spirits at wholesale and the spirits were imported under the corporation's permit and bottled in the corporation's plant for which the corporation was compensated at a fair and reasonable rate.2. Pleadings -- Issues not Pleaded.  -- The question of whether the petitioner is taxable with his son's distributive share of the income of the partnership is not properly before the Court where the Commissioner excluded all partnership income from the income of the taxpayer in determining the deficiency and did not raise the issue by affirmative pleading, did not assume the burden of proof, and did not claim an increased deficiency.3. Gain or Loss -- Capital Asset -- Sale of Warehouse Receipts.  -- Whiskey warehouse receipts were capital assets when sold by a partnership*217  which, although it acquired them with the intention of engaging in the bottling and rectifying business, nevertheless sold them because it was unable to obtain permits necessary for it to engage in business.4. Income -- Installment Basis -- Failure to Make Timely Election.  -- There was not a timely election to use the installment method where a partnership filed a delinquent return in August 1946 reporting on the installment basis a long term capital gain from the sale of assets in November 1944 and where the taxpayer partner reported his share of the gain for the first time in an amended return filed in August 1946.5. Failure to File Timely Return -- Reasonable Cause. -- Taxpayer's reliance on another man who had assisted in preparing his returns in the past but who entered the armed forces without having prepared any return for the year in question does not constitute reasonable cause for failure to file a timely return. Aaron Holman, Esq., and l. Newton Brozan, Esq., for the petitioners.Aaron Resnick, Esq., for the respondent.  Murdock, Judge.  MURDOCK *871  The Commissioner determined deficiencies and an addition for delinquency as follows: *219 Exces25 per cent forPetitionerYearIncome taxprofits taxdelinquencyCedar Valley Distillery Inc1943$ 32,416.941944$ 4,410.5327,477.57William Weisman194344,223.92$ 11,055.98194428,440.35issues for decision under the pleadings are:(1) Whether the Commissioner erred in computing the net income of Cedar Valley Products Co., a partnership, for the calendar years 1943 and 1944 and adding it under section 22 (a) or 45 to the income of Cedar Valley Distillery, Inc., for those years;(2) Whether the income which Weisman received in 1944 from Theodore Netter Company, a partnership, was taxable as ordinary income or as a long term capital gain and whether he had a right to use the installment method in reporting that income;(3) Whether the failure of Weisman to file a timely income tax return for 1943 was due to reasonable cause and not to willful neglect within the meaning of section 291 (a).Other issues arise in the alternative if decision on the first issue should be for the Commissioner.FINDINGS OF FACT.Cedar Valley Distillery, Inc., hereafter called Distillery, filed timely returns for the calendar years 1943 and 1944 with*220  the collector of internal revenue for the eighteenth district of Ohio.  It used an accrual system of accounting and reporting.William Weisman filed individual returns for the calendar years 1943 and 1944 on a cash basis with the collector of internal revenue for the eighteenth district of Ohio.  His return for 1943 was filed on January 15, 1945.  His failure to file a timely return for that year was not due to reasonable cause.Distillery was organized in 1935.  It had 14,645 outstanding shares.  Weisman became the owner of a majority of its stock in 1941.  He *872  owned 7,860 shares in 1943 and 7,955 shares in 1944.  He was vice president, general manager, and a director.  Edward F. Kotershall was president and a director.  He owned 950 shares.  The only other director was Samuel Esselburn who owned 1,150 shares.  Fifty other persons owned the remaining shares.Distillery was engaged in distilling spirits in its own plant. It completed a bottling and rectifying plant at about the close of 1941, but began to distill spirits exclusively for the Federal Government on August 1, 1942, and never engaged actively in the bottling business.  The new bottling plant was idle during most*221  of 1942 and the first part of 1943.Julius Rawick, a business acquaintance of Weisman, came to the latter early in 1943 and suggested that they form a partnership. Rawick had definite prospects of obtaining gin and rum in Cuba which he believed could be imported, bottled, and sold profitably.  He needed financial assistance for the enterprise.  He suggested that the idle bottling plant of Distillery could be used and also that importation could be made through a permit to be obtained by Distillery. Rawick wanted to engage in this business as an owner, not as an employee.  Weisman consulted Esselburn who said he would not want Distillery to engage in the importing business as a principal but encouraged Weisman to join with Rawick and offered financial assistance.  Weisman then orally agreed with Rawick to form a partnership to carry on the business, Rawick to give his full time to the work.  The partnership used the name Cedar Valley Distributing Co., but later changed to Cedar Valley Products Co. and is herein referred to as Products.Products agreed to pay Distillery stated amounts per unit for bottling and for the importation of spirits under the permit of Distillery. Those amounts*222  were fair and reasonable.Distillery obtained an importer's basic permit on March 29, 1943.  It held at all times material hereto basic permits to distill, to rectify, and to bottle spirits.  It applied on December 29, 1943, for a wholesale liquor dealer's basic permit and was issued that permit in November 1944.Rawick went to Cuba and made arrangements there under which gin and rum were purchased and imported in the name of Distillery and under its permit.  He made a number of later trips to Cuba during 1943.  The imported spirits were then bottled by Distillery for Products and the latter sold them.  Products paid Distillery in accordance with its agreement for the use of its permits and for the bottling. It also repaid all money loaned to it by Distillery but paid no interest.Products obtained stamps to do business as a wholesale liquor dealer and paid a wholesale liquor dealer's tax for the period August *873  1943 to June 1944.  It applied for a wholesale liquor dealer's basic permit in August 1943 but did not obtain that permit until after 1944.Products had no employees during 1943 and 1944 except Rawick and Weisman.  They did all of its buying and selling.  Rawick kept*223  the books of Products with, perhaps, some slight assistance from Distillery occasionally.  Products had its own bank account.  Rawick put $ 8,289.60 into the business and Weisman advanced some funds for Rawick's use.  Products also was aided by loans, some from Distillery, and by advances from customers.Rawick at no time was an officer, director, stockholder, or employee of Distillery.Rawick, Weisman, and Bernard Weisman signed a written but undated partnership agreement at some time in December 1943.  It stated that the name was to be Cedar Valley Products Co., and the purpose was to buy, sell, import, and export at wholesale distilled spirits and wines.  The partnership was to continue for one year unless sooner terminated or longer continued by endorsement of the agreement.  The capital was to consist of $ 10,000 of which Weisman was to contribute 40 per cent and Bernard Weisman and Rawick 30 per cent each.  Weisman was to be the managing partner but was not to give his full time to its business.  Rawick was to devote his full time to the business.  It recited that Bernard Weisman was in the armed forces and could not and would not be expected to perform any services until released, *224  after which he was to give his full time to the business.  Weisman and Rawick were each to receive $ 75 a week before distributive profits were computed.Capital was not contributed in accordance with the partnership agreement and no capital accounts were kept on the books of Products.  Distillery, on December 20, 1943, entered into an agreement with Products for the use of its bottling facilities and to supply all funds necessary to insure the continuous operation of the bottling plant. The agreement recited that it was for the purpose of substantiating an identical verbal agreement entered into on or about March 5, 1943, between the same parties.  Distillery agreed to bottle all spirits supplied by Products, to turn the bottled spirits over to Products for marketing, to file an application for an importer's basic permit, to import in its name under the permit for the account of Products all spirits or wines procured by Products, and to lend funds at 4 per cent if needed by Products to purchase imported distilled spirits. It also agreed not to bottle for others.  Products agreed to procure and supply sufficient distilled spirits to insure continuous operation of the bottling and*225  rectifying plant, to sell the products, to reimburse Distillery for all funds expended incident to the acquisition, *874  importation, bottling, rectifying, or processing the spirits, to pay Distillery 25 cents per case for domestic spirits bottled and 30 cents per case for imported spirits bottled, and to pay Distillery 5 cents per case and 2 1/2 cents per gallon for spirits or wines imported under the distiller's importer's basic permit.Products did some bottling for others, using the Distillery plant.Products used an accrual method of accounting and kept its books and filed its returns upon the basis of a fiscal year ended July 31st.  Its first return was for the fiscal year ended July 31, 1944.  Its correct taxable net income for that year was $ 104,190.40The Commissioner, in determining the deficiencies and purporting to act under sections 22 (a) and 45 of the Internal Revenue Code, computed the net income of Products on a calendar year basis and thus arrived at $ 57,808.73 for 1943 and $ 46,381.67 for 1944 which he included in the income of Distillery for those years.  He held that Weisman had received taxable income in 1943 of $ 70,059.91 representing amounts received*226  from or expended on his behalf by Products which he failed to report in that year.  He further determined that that amount was excessive compensation from Distillery and not a proper deduction of Distillery. Distillery claimed no such deduction.Weisman and William Bauer each purchased 50 per cent of the outstanding stock of Theodore Netter, Inc., in the first part of September 1943.  That corporation was engaged in the business of rectifying and bottling distilled spirits. Weisman and Bauer formed a partnership on October 6, 1943, under the name of Theodore Netter Company.  They then dissolved the corporation and had the assets of the corporation transferred to the partnership on October 14, 1943.  It was their purpose to continue the old business as a partnership in accordance with Federal and state laws.  However, they did not own the necessary permits.  The partnership applied for permits on October 12, 1943.  Those applications were withdrawn on May 22, 1944, and were never renewed.The assets of the former corporation acquired by the partnership included distillery equipment, machinery, and supplies, and warehouse receipts representing numerous barrels of spirituous liquor. *227  The equipment, machinery, and supplies were on premises formerly leased by the corporation.  The partnership, on May 1, 1944, sublet those premises for the remaining 2 months of a lease.  The sublease also covered all of the assets received in the liquidation of the corporation except the warehouse receipts.The warehouse receipts were held by a bank as security for a loan to the corporation of a little less than $ 200,000.  That debt was paid and the partnership immediately gave its note to the bank for a loan *875  of $ 320,000.  The warehouse receipts remained pledged for that indebtedness throughout the taxable years.The partnership entered into an agreement dated November 6, 1944, whereby it sold all of the assets previously acquired from the liquidation of the corporation.  The agreement recited that the warehouse receipts were pledged for a loan of $ 350,000.  The purchase price of $ 1,035,000 was payable $ 50,000 upon execution of the agreement and the remainder at stated intervals up to November 15, 1946.  The purchaser had the right to accelerate any of the payments.  Unpaid balances were to bear interest from the day of the agreement.  The purchaser was to be obligated*228  for all warehouse charges after November 1, 1944, and the partnership was to pay all charges up to that date.  The partnership was to discharge its indebtedness and transfer the property free of all encumbrances.  The warehouse receipts were to be delivered to the purchaser in accordance with a schedule roughly corresponding to the dates of payment of the purchase price but all warehouse receipts were to be transferred to the purchaser when all of the purchase price had been paid.  The title to the property was to pass immediately to the purchaser and the purchaser was to assume all risks.The partnership received $ 87,494.04 of the purchase price during 1944.The sales price of the contract exceeded the basis of the property to the partnership by $ 160,378.82.The partnership, after the sale of its assets in November 1944, retained cash and accounts receivable of $ 7,621.08 and its liabilities.  It continued to exist for a period not shown by the record.  The record does not show what activities it carried on after November 6, 1944.  Its return for 1945 showed income of about $ 34,000, in addition to a portion of the profit on the 1944 sale, and deductions of about $ 21,000.The *229  partnership did not file any returns until August 1945, after the need had been called to its attention by a revenue agent.  The partnership did not file timely returns for 1943, 1944, and 1945, but first filed returns for those periods on August 9, 1946.  The return thus filed for 1944 reported $ 6,778.82 as a long term capital gain on the installment basis from the sale of the assets in November 1944.  Weisman filed an amended return for 1944 on August 6, 1946, in which he reported a long term capital gain of one-half of the gain reported by the partnership from the sale of its assets.  That was the first time he had reported any gain from that transaction.The Commissioner, in determining the deficiency against Weisman for 1944, held that Weisman's distributive share of the income from the partnership for 1944 was $ 68,278.24.The stipulated facts are incorporated herein by this reference.*876  OPINION.The parties have stipulated that if the income of Products should not be taxed to Distillery under section 22 (a) or section 45, then it had a fiscal year ended July 31, 1944, and its correct net income for that period was $ 104,190.40.  The Commissioner, in determining the *230  deficiencies against Distillery, disregarded the fiscal year of Products, computed amounts to represent its net income for each of the calendar years 1943 and 1944, and added those amounts to the income of Distillery. He purported to act under section 45 or 22 (a) of the Internal Revenue Code.Section 45 is entitled "Allocation of Income and Deductions." It applies to two or more organizations "owned or controlled directly or indirectly by the same interests." It authorizes the Commissioner to "distribute, apportion, or allocate gross income or deductions between or among such organizations * * * if he determines that such distribution, apportionment, or allocation is necessary in order to prevent evasion of taxes or clearly to reflect the income of such organizations * * *." Rawick had a 30 per cent interest in Products and no interest in Distillery. Fifty-two stockholders owned about 46 per cent of the stock of Distillery and had no interest in Products.  Weisman, who owned about 54 per cent of the stock of Distillery, also owned an interest in Products.  It is at least doubtful whether this situation discloses the control which Congress had in mind to justify the application of*231 section 45.  However, that question need not be decided.The Commissioner has not distributed, apportioned, or allocated "gross income or deductions" between Distillery and Products.  Instead, he has attempted to compute the net income of Products for the calendar years 1943 and 1944 and has added all of that net income to the income of Distillery, ignoring the partnership and the partners for tax purposes.  Justification for such action is not found in section 45. Miles-Conley Co., 10 T. C. 754, affd., 173 F. 2d 958. It was not enacted to consolidate two organizations for tax purposes by ignoring one completely, but merely to adjust gross income and deductions between or among certain organizations.  Chelsea Products, Inc., 16 T. C. 840. Cf.  Seminole Flavor Co., 4 T. C. 1215.There was here no evasion of taxes.  Distillery had never gotten its bottling and rectifying plant in regular operation probably because it ceased to distill spirits for sale generally and confined its distilling entirely to Government work beginning on August 1, 1942.  It had never used its*232  bottling and rectifying plant except to bottle, for one customer, some whisky which it had previously distilled.  The evidence is that many other bottling plants were idle.  Distillery was glad to find a customer who would pay it something for operating *877  its bottling and rectifying plant. This is not a situation where a profitable part of an established business was taken from Distillery so that the income would be diverted to others with a consequent saving of taxes.  It was, on the contrary, a new enterprise started by Rawick.  The Commissioner would have an aura of illegality and sham hover about what was done.  There is no doubt that Products and Distillery had a number of interests in common and were mutually helpful.  However, they kept separate books and the net income of each can be determined.  It does not appear from the record that any illegal act was involved, but legal or illegal, it is a fact that Rawick, acting for Products, obtained liquors in bulk in Cuba and sold them as bottled goods at wholesale in the United States for a profit, after paying Distillery for the importing and bottling. His activities were real and not a sham.  They produced income and*233  that income belonged to his partnership. The Commissioner completely ignores Rawick and regards even his share as belonging to Distillery. There is evidence that Distillery did not care to engage in the business as a principal because of the risk involved.  It preferred merely to be paid for such services as it rendered in connection with the business carried on by Products.  The separateness of the two organizations is fully justified by the difference in interests alone.  It is not necessary to do anything with the gross income or deductions of Products to prevent evasion of taxes.  The evidence is that the amounts paid by Products to Distillery for services performed by Distillery for Products were fair and reasonable.  Therefore, nothing need be done with the gross income or deductions of Products in order clearly to reflect the income of the two organizations.  Section 45 has no application to the facts shown by this record.Section 22 (a) contains a general definition of gross income. The evidence shows that the amounts which the Commissioner added to the income of Distillery, representing the alleged net income of Products for the calendar years 1943 and 1944, was net income*234  of Products after Products had paid Distillery in full for all services rendered.  Those amounts did not represent income of Distillery. The stipulation shows that there is no dispute about the amount of net income either of Products for its fiscal year or of Distillery for its calendar years if the net income of the two is not to be combined.  The Commissioner erred in adding any amount to the income of Distillery to represent net income of Products.That holding obviates the necessity of considering whether Weisman's income for 1943 should include $ 70,059.91, representing a distribution from Distillery and whether Distillery is entitled to deduct that same amount as compensation for Weisman.  The parties have stipulated that in the event the income is not all income of Distillery, Weisman received no distribution of taxable income from Distillers *878  in 1943.  Distillery never claimed that it was entitled to deduct the amount in question as compensation to Weisman.The parties have argued in their briefs the question of whether Weisman should include in his 1944 income as his distributive share of the partnership income for its fiscal year ended July 31, 1944, if it is not*235  to be included in the income of Distillery, 40 per cent or 70 per cent of that partnership income. The Commissioner argues for 70 per cent on the theory that Bernard Weisman should not be recognized as a partner and his share should be taxed to his father.  Weisman claims that he was entitled to only 40 per cent.  However, no such issue need be decided because it is not properly before the Court.  Weisman, reporting on a calendar year basis, did not report any Products income in his 1943 return because the first fiscal year of that partnership ended July 31, 1944.  He included an amount in his 1944 return to represent his distributive share of the net income of Products for its fiscal year ended July 31, 1944.  The Commissioner, in determining the deficiency against Weisman for 1944, eliminated the $ 37,145.35 so reported and explained:It is held that the Cedar Valley Products Company partnership income is distributable to Cedar Valley Distillery, Inc., and not by [sic] the partners as reported on the partnership return for the year 1944.  The amount reported by you of $ 37,145.35 has accordingly been eliminated from your taxable income.The respondent, in his answer in the*236  Weisman case, has made no affirmative contention and prays that his "determination be in all respects approved." Since the Commissioner did not place 70 per cent of the distributive income of Products in the income of Weisman for 1944 in determining the deficiency for that year, does not affirmatively plead that 70 per cent should be included in his income, and does not ask for an increased deficiency for that year, the Court is not justified in considering any such issue.This is not changed by the fact that in the statement attached to the notice of deficiency, in so far as that statement explains the determination of the deficiency for the preceding year, 1943, the following appears:In the event the Cedar Valley Products Company is determined by the Court to be a partnership for Federal income tax purposes, then in the alternative it is held that your taxable share of the income of Cedar Valley Products Company for its taxable year ended July 31, 1944 includible in your income for the calendar year 1944 is $ 72,933.28 under the provisions of Section 22 (a) of the Code, which amount represents a 70% interest; the alleged 30% interest of your son, Bernard Weisman, as a partner, *237  is not recognized for income tax purposes.Inherent in the determination of the deficiencies against Weisman for 1943 and 1944 is the proposition that all of Products' net income for 1943 and 1944 belonged to Distillery and no part of it is to be *879  taxed to Weisman as his distributive share of the income of a partnership. The Commissioner actually eliminated from Weisman's income for 1944 the distributive share of that income which Weisman had reported.  He did not put it back in any form whatsoever.  The determination of a deficiency by the Commissioner is presumed to be correct and certainly Weisman had no burden of proof under the determination for 1944 to show that his distributive share of the net income of Products for 1944 was not greater than the amount which he reported.  This is not like a case in which the action of the Commissioner in including a certain amount in income might be supported on one of several grounds.  It has been held in some cases like that that the taxpayer does not necessarily win by showing that one of the grounds was wrong.  Here the Commissioner did not include any amount in Weisman's income for 1944 representing his distributive share of*238  the net income of Products for its fiscal year ended July 31, 1944, or any amount representing the same income in some other form.  The Commissioner, in order to protect himself, could have taken a position in determining the deficiencies for 1944 which was inconsistent with the position taken by him in determining the deficiency for 1943; i.e., he could have included 70 per cent of the income of Products for its fiscal year ended July 31, 1944, in the income of Weisman for 1944.  That would have placed the burden of proof upon Weisman to show that he was not entitled to 70 per cent of the income of Products, but the Commissioner did not do that and he cannot accomplish the same result by the peculiar alternative statement which he made in the statement attached to the notice of deficiency as an explanation of his determination of the deficiency against Weisman for 1943.  Also, he could have pleaded this issue in the 1944 case as an alternative but he did not do that.  The Commissioner must plead affirmatively, must assume the burden of proof and, if necessary, claim an increased efficiency whenever he asks the Court to take a position inconsistent with and more favorable to him than*239  that taken by him in determining the deficiency.Weisman contends that the gain from the sale of the warehouse receipts should be taxed as a capital gain and not as ordinary income.  His first basis for that contention is that the Theodore Netter Co. partners sold the partnership interests which were capital assets.  The facts fully refute that contention.  The partners did not sell their interest in the partnership and the purchaser did not buy those interests.  The Theodore Netter Co. partnership continued and Weisman and Bauer continued to own the partnership interests after the sale.  The sale was of partnership assets and was made by the partnership. Estate of Herbert B. Hatch, 14 T. C. 251.Weisman next contends that the warehouse receipts were capital assets in the hands of the partnership and the gain was a long term *880  capital gain. There is no dispute as to the profit realized by the partnership. The Commissioner regarded the entire gain from the transaction as ordinary income of the partnership, rather than capital gain, in computing Weisman's distributive share of the net income of the partnership for 1944.  He argues in his brief*240  that the entire gain was from the sale of the warehouse receipts, Weisman's argument applies only to those receipts and it seems proper under such a situation to consider only the receipts.Capital assets are defined in section 117 (a) (l) to include all property with certain stated exceptions.  The Commissioner argues that the warehouse receipts come within the following exception: "Stock in trade of the taxpayer or other property of a kind which would be included in the inventory of the taxpayer if on hand at the close of the taxable year, or property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business." There is no doubt that the partnership intended to continue the bottling and rectifying business theretofore carried on by the corporation but it needed permits to begin that business.  It made unsuccessful applications for permits, and, not later than May 22, 1944, when it withdrew its applications for permits, abandoned all intention of engaging in any business involving the warehouse receipts.  It never took delivery of any of the whisky covered by the warehouse receipts and it never conducted any business in which the use of that*241  whisky was involved.  It merely held the receipts for a while until it abandoned all hope of obtaining permits and then sold the receipts.  It argues that the warehouse receipts under those circumstances never represented stock in trade of the partnership or other property of a kind which would properly be included in any inventory of the partnership if on hand at the close of a taxable year and further that the warehouse receipts were not held by the taxpayer primarily for sale to its customers in the ordinary course of its trade or business.The warehouse receipts were not property held by the taxpayer primarily for sale to its customers in the ordinary course of its trade or business.  Cf.  Thomas E. Wood, 16 T. C. 213. It never had any trade or business, it never had any customers and it never had any intention of selling the warehouse receipts to customers of any trade or business in which it ever intended to engage.  If it had ever actually started in the business in which it intended to engage, it would have used the warehouse receipts to obtain whisky for use in its bottling business but it sold the warehouse receipts before it made any progress*242  whatsoever towards that end.A more difficult question is whether the warehouse receipts should be regarded as stock in trade or other inventoriable property.  Section 22 (c) authorizes the use of inventories whenever they are necessary in order clearly to determine the income of any taxpayer.  *881  Section 29.22 (c)-1 of Regulations 111 provides that inventories are necessary to reflect net income clearly in every case in which the production, purchase or sale of merchandise is an income producing factor.  If the partnership had ever actually started in the business in which it intended to engage, the whisky obtained on the warehouse receipts would have been the raw material held for use in that business.  Inventories probably would have been necessary to reflect the income of that business clearly and, of course, the whisky could not be regarded as a capital asset once the business was started.  However, the production, purchase, or sale of merchandise never became an income producing factor of any business carried on by the Theodore Netter Co. partnership. That partnership never took possession of any of the merchandise represented by the warehouse receipts and never went*243  into the business.  Property which would be inventorial under some circumstances is not necessarily inventorial under all circumstances.  Here there was no occasion for this partnership to inventory the warehouse receipts so long as it was not even in position to engage in producing or merchandising any product.  Cf.  John D. Roney, 26 B. T. A. 1213, affd., 67 F. 2d 165, certiorari denied, 290 U.S. 705. The Commissioner would probably have denied it the right to use inventories at least until it was in a position to engage in business.  Certainly the use of inventories was not necessary in computing the income of the partnership while it was merely holding the warehouse receipts.  Cf.  Atlantic Coast Realty, 11 B. T. A. 416, 419. The purchase and sale of the warehouse receipts turned out to be an isolated transaction not connected with any business regularly carried on by the partnership. Congress intended the capital gain provisions to apply to the sale of property where, as here, it was bought, held, and sold without ever being related to any business regularly carried*244  on.  Thomas E. Wood, supra.The gain was a capital gain of the partnership and the property was held for more than 6 months.Another issue relates to the use of the installment method by Weisman in reporting income for 1944 from the sale of the warehouse receipts.  Apparently he would argue that the distributive income of the partnership for 1944 should include only a part of the profit.  One of the arguments which the Commissioner makes against this contention is sound and other features of the problem need not be discussed.  The partnership did not file a timely return for 1944 but finally, after its failure to file a return for an earlier period was called to its attention by a revenue agent, it filed a return for 1944 on August 9, 1946, in which it reported income from the sale of its assets as a long term capital gain on the installment basis. Weisman had filed a timely return for 1944 but had not reported any gain on the sale or any income from Theodore Netter Co.  He filed an amended return *882  on August 6, 1946, in which for the first time he reported gain from the sale of the partnership assets and reported as his income one-half of the*245  long term capital gain belatedly reported by the partnership on the installment basis. The following from Sarah Briarly, 29 B. T. A. 256, is apposite:* * * These provisions bestowed a benefit on taxpayers that had not theretofore had statutory approval.  Where benefits are sought by taxpayers, meticulous compliance with all named conditions is required.  Lucas v. Pilliod Lumber Co., 281 U.S. 245. The statute here involved provides that in the case of an installment sale of real estate "the income may * * * be returned" on the installment basis. This, in our opinion, requires both timely and affirmative action on the part of those seeking to take advantage of the benefits conferred by the statute.  As pointed out above, taxpayers voluntarily filing returns and making timely election are bound by their choice.  To allow a choice where the taxpayer sits supinely by until by the diligence of the Government it is discovered that a tax is due would put a premium on inertia that certainly is not within the spirit of our system of taxation.  If any class of taxpayers is entitled to claim a preference, it consists of those*246  who have complied with the statute.See also W. T. Thrift, Sr., 15 T. C. 366. The election to use an installment basis under the circumstances of this case was not timely.Weisman contends that the negligence penalty should not be imposed because of his failure to file a timely return for 1943.  He has failed to show, however, that there was reasonable cause for the delinquent filing.  His testimony indicates that he was expecting one of the employees of Distillery to prepare some figures for his 1943 return and when that employee went into the armed services he (Weisman) assumed that a return had been filed.  All of the evidence bearing upon this subject has been carefully considered and the conclusion has been reached that reasonable cause for the delinquency has not been shown.  An individual can not be relieved of the penalty for failure to file a timely return where he relies on some individual who in the past has had something to do with the preparation of his returns and pays no further attention to the matter when that person is called into the armed services.Decisions will be entered under Rule 50.  